Case 20-23376-CMB                Doc 210    Filed 12/21/21 Entered 12/21/21 13:30:39       Desc Main
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                             IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF PENNSYLVANIA
 In Re:                                                 :    Bankruptcy No. 20-23376-CMB
                                                        :
 LEONARD R. COSTANTINI III.,                            :    Chapter 11

                  Debtor,                               :    Document No.
                                                        :
 LEONARD R. COSTANTINI III.,

                  Movant,
                                                        :
                            v.                          :
                                                        :
 No Respondent.                                         :

                                     NOTICE OF CHANGE OF ADDRESS
 Undeliverable Address:

          Creditor Name: Internal Revenue Service

         Incorrect Address: Special Procedures Division
                            P.O. Box 628
                            Bankruptcy Section
                            Pittsburgh, PA 15230
 Corrected Address:
          Creditor Name: Internal Revenue Service

          Correct Address: Bankruptcy Section
                           1000 Liberty Avenue
                           Room 711 B.
                           Pittsburgh, PA 15222

 Date: December 21, 2021                           /s/ Robert O Lampl
                                                   ROBERT O LAMPL
                                                   PA I.D. #19809
                                                   JOHN P. LACHER
                                                   PA I.D. #62297
                                                   RYAN J. COONEY
                                                   PA I.D. #319213
                                                   SY O. LAMPL
                                                   PA I.D. #324741
                                                   ALEXANDER L. HOLMQUIST
                                                   PA I.D. #314159
                                                   223 Fourth Avenue, 4th Floor
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